                          EXHIBIT 3
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Portal Docket 20240327                                   2
C. Magistrate Order                                         6
D. Release Order                                            14
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I. Screenshot of eWarrants Release Order_Redacted           25




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                               0001

Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 2 of 26
                                                 Mecklenburg District Court

                                                        Case Summary
                                                  Case No. 23CR472261-590


 STATE OF NORTH CAROLINA VS THOMAS ANDREW                       §                        Location: Mecklenburg District Court
 HAYWARD                                                        §                        Filed on: 12/02/2023
                                                                §    Electronic Warrants Warrant 3Z5LkdZBUwheaxm3CCqwLk
                                                                                               ID:
                                                                §       Criminal Process Number: MO-23-836643
                                                                §       Criminal Process Number: RO-23-836787
                                                                §    Electronic Warrants Warrant uPNAAJWEMs477w8jrgsVm4
                                                                                               ID:



                                                       Case Information

Offense                       Statute        Degree Offense Date Filed Date             Case Type: Criminal
1. ASSAULT ON A FEMALE        14-33(C)(2) MA1          12/01/2023    12/02/2023        Case Status: 12/02/2023 Pending

    Arrest
      Date: 12/02/2023
    Offense Reports
       Control #: 20231202015903
       Agency: Charlotte Police Department

Related Cases

Bonds
Secured Bond - Cash by #23B097973                  $2,500.00
Accommodation
 12/04/2023            Posted
 Counts: 1




                                                 Assignment Information

            Current Case Assignment
            Case Number 23CR472261-590
            Court         Mecklenburg District Court
            Date Assigned 12/02/2023



                                                       Party Information

Defendant       HAYWARD, THOMAS ANDREW                 MORGAN, MOLLY ELIZABETH (Inactive)
                 11728 BORCHETTA DR                    Retained
                 CHARLOTTE, NC 28277                   SEVCIK-TIMBERG, ELI PARKER
                 White                                 Retained
                 Male
                 Height: 5′ 8″ Weight: 135
State           STATE OF NORTH CAROLINA                Pendergrass, Samantha D.
                 Other                                 Retained

Complainant LARENTE, EDOUARD

Law         LARENTE, EDOUARD
Enforcement
Officer


                                                           PAGE 1 OF 4                         Printed on 04/01/2024 at 8:45 AM

                                                              0002

            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 3 of 26
                                                    Mecklenburg District Court

                                                        Case Summary
                                                    Case No. 23CR472261-590
Surety          BIGGS, THOMAS PATRICK
                 3301 WOODBINE LANE
                 CHARLOTTE, NC 28210
                 Male



                                                          Case Events

01/12/2024    Subpoena Returned                                                                Index # 1 1
                Filed By: State STATE OF NORTH CAROLINA
              Charges:
               1. ASSAULT ON A FEMALE (1389)
                Created: 03/23/2024 4:37 PM
01/09/2024                                                                                     Index # 8
              Motion to Withdraw as Counsel
              Charges:
               1. ASSAULT ON A FEMALE (1389)
                Created: 01/09/2024 3:44 PM
01/04/2024                                                                                     Index # 10
              Subpoena Returned
                RETURN OF SERVICE- TELEPHONE COMM BY MCSO
                Filed By: State STATE OF NORTH CAROLINA
              Charges:
               1. ASSAULT ON A FEMALE (1389)
                Created: 02/01/2024 6:44 PM
01/03/2024                                                                                     Index # 9
              Subpoena Returned
                PERSONAL DELIVERY
                Filed By: State STATE OF NORTH CAROLINA
              Charges:
               1. ASSAULT ON A FEMALE (1389)
                Created: 01/13/2024 5:09 PM
12/28/2023                                                                                     Index # 7
              Notice of Appearance
                Notice of Appearance
                Created: 12/28/2023 12:38 PM
12/04/2023                                                                                     Index # 6
              Bond Posted
                Created: 12/04/2023 1:05 PM
12/04/2023
              Attachment
                 Arrest Narrative
                 Created: 12/04/2023 11:14 AM
12/04/2023
              Release Order Modified
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-836787
                Created: 12/04/2023 10:16 AM
12/04/2023    Counsel Appointed - Public Defender
                Created: 12/04/2023 10:13 AM
12/04/2023                                                                                     Index # 3
              Order of Assignment of Counsel or Denial of Counsel
                Created: 12/04/2023 10:13 AM
12/04/2023    Affidavit of Indigency                                                           Index # 4
                 Created: 12/04/2023 10:13 AM
12/04/2023    Modification of Bond                                                             Index # 5
                UPDATED IN EWARRANTS NO CHANGE IN BOND NO CONTACT
                                                           PAGE 2 OF 4           Printed on 04/01/2024 at 8:45 AM

                                                               0003

             Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 4 of 26
                                               Mecklenburg District Court

                                                   Case Summary
                                               Case No. 23CR472261-590
                Created: 12/04/2023 10:13 AM
12/04/2023
              Release Order Modified
                Location: MECKLENBURG COUNTY COURTHOUSE
                : RO-23-836787
                Created: 12/04/2023 2:38 AM
12/02/2023                                                                                               Index # 2
              Release Order Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-836787
                Created: 12/02/2023 5:00 AM
12/02/2023                                                                                               Index # 1
              Magistrate Order Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: MO-23-836643
                Party: Defendant HAYWARD, THOMAS ANDREW
                Created: 12/02/2023 4:57 AM



                                                       Hearings

05/28/2024 Electronic Warrants Assigned (9:00 AM) (Judicial Officer: MCTHENIA, PAIGE BARNS)
             Resource: Location 590-4130 Mecklenburg Co. Courthouse, Courtroom 4130
           Created: 12/04/2023 10:15 AM
05/28/2024 CANCELED Bench Trial (9:00 AM) (Judicial Officer: MCTHENIA, PAIGE BARNS)
             Resource: Location 590-4130 Mecklenburg Co. Courthouse, Courtroom 4130
             Release Order Updated in Electronic Warrants
           Created: 12/04/2023 10:13 AM
12/04/2023 First Appearance Hearing (9:00 AM)
             Resource: Location 590-1150 Mecklenburg Co. Courthouse, Courtroom 1150
             MINUTES - 12/04/2023
                             Counsel Appointed - Public Defender
                               Created: 12/04/2023 10:13 AM
                                                                                          Index # 3
                               Order of Assignment of Counsel or Denial of Counsel
                                   Created: 12/04/2023 10:13 AM
                               Affidavit of Indigency                                     Index # 4
                                   Created: 12/04/2023 10:13 AM
                               Modification of Bond                                        Index # 5
                                   UPDATED IN EWARRANTS NO CHANGE IN BOND NO CONTACT
                                   Created: 12/04/2023 10:13 AM
                CANCELED Bench Trial (05/28/2024 at 9:00 AM) (Judicial Officer: MCTHENIA, PAIGE BARNS)
                   Resource: Location 590-4130 Mecklenburg Co. Courthouse, Courtroom 4130
                   Release Order Updated in Electronic Warrants
                Created: 12/04/2023 10:13 AM
                Hearing Held;
                   Hearing Held
              Created: 12/04/2023 2:38 AM
12/04/2023 CANCELED Electronic Warrants Assigned (9:00 AM) (Judicial Officer: FLEET, JENNIFER L)
             Resource: Location 590-1150 Mecklenburg Co. Courthouse, Courtroom 1150
             Release Order Updated in Electronic Warrants
           Created: 12/02/2023 5:00 AM



                                                    Bond Settings

12/04/2023 Amended Bond Setting

                                                      PAGE 3 OF 4                       Printed on 04/01/2024 at 8:45 AM

                                                         0004

             Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 5 of 26
                                     Mecklenburg District Court

                                          Case Summary
                                      Case No. 23CR472261-590
 Set By            Secured Bond - Property by Defendant , Secured Bond - Cash by Accommodation , Secured Bond -
        $2,500.00
 Clerk             Property by Accommodation , Secured Bond - Cash by Defendant , Secured Bond - Professional Surety
 Conditions:
   - Arrestable Restrictions- Default




                                             PAGE 4 OF 4                               Printed on 04/01/2024 at 8:45 AM

                                                 0005

Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 6 of 26
     File No.                                                          Law Enforcement Case No.                               L/P No.
                                                                                                     20231202015903
                             23CR472261-590
                                                                        CHARLOTTE POLICE DEPARTMENT
              MAGISTRATE'S ORDER
        THE STATE OF NORTH CAROLINA VS.
Name And Address Of Defendant
THOMAS ANDREW HAYWARD                                                   STATE OF NORTH CAROLINA                                           In The General Court Of Justice
11728 BORCHETTA DR                                                                                                                                  District Court Division
                                                                                     MECKLENBURG
                                                                                                                         County
                CHARLOTTE                     NC           28277
     Mecklenburg COUNTY                                                                                          OFFENSE(S) (see AOC-CR-116 Continuation(s) for charging text)
                                                                        Count                                                                                                          Offense in Violation      Offense
                                                                                                                              Offense
                                                                         No                                                                                                                  Of G.S.              Code

                                                                                                          ASSAULT ON A FEMALE
Race                 Sex             Date Of Birth          Age
                                                                                                                                                                                            14-33(C)(2)            1389
                             M           08/16/1974               49
Name Of Defendant's Employer


Date Of Offense
       12/01/2023
      Misdemeanor Offense Which Requires Fingerprinting Per
CI
Date Of Arrest & Check Digit No. (as shown on fingerprint card)
                12/02/2023
Arresting Officer (name, address or department)
EDOUARD LARENTE
CHARLOTTE POLICE DEPARTMENT
4335 Stuart Andrew Blvd
         CHARLOTTE                           NC           28202
       MECKLENBURG
Witness Information




 |, the undersigned, find that the defendant named above has been arrested without a warrant and the defendant's detention is justified because there is probable cause to
 believe that on or about the date of offense shown and in the county named above the defendant named above unlawfully, willfully, and feloniously did commit the offense(s)
 set forth above and on the attached AOC-CR-116 Continuation(s), which is (are) incorporated by reference.
 This act(s) was in violation of the law referred to in this Magistrate's Order. This Magistrate's Order is issued upon information furnished under oath by the arresting
 officer(s) shown. A copy of this Order has been delivered to the defendant.
Date Issued             Name Of Issuing Official                                Signature                                                  [x]   Magistrate   [] Deputy csc          Assistant csc    Clerk Of Superior Court
     12/02/2023            E. HORTON                                                                                                             District Court Judge     Superior Court Judge
Location Of Court                                                                                         Court Date                                                    Court Time

Mecklenburg Co. Courthouse, Courtroom 5170                                                                                      12/04/2023                                    9:00 AM
                                                                                 WAIVER OF PROBABLE CAUSE HEARING
 The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
Date Waived             Signature Of Defendant                                              Name Of Attorney                                                            Signature Of Attorney

                                                                                                          0006
                                                                                                               (Over)
     AOC-CR-116, Rev. 3/23, © 2023 Administrative Office of the Courts                                                                                                         Domestic VRA Case
                                                   Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 7 of 26
                                                                                                                                    File No
                     STATE VERSUS                                           MECKLENBURG
                                                                                                          County                                     23CR47226 1-590
Name Of Defendant
THOMAS ANDREW HAYWARD
Date Of Issuance Of Magistrates Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               12/02/2023
                                                                            OFFENSES (continued)
   Count1.       Offense:          -
                                        ASSAULT ON A FFEMALE
Charging Text For This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully and willfully did assault                                         female person, by
 SUSPECT AND VICTIM WERE ARGUING. VICTIM BROKE A PICTURE OF THE TWO AND SUSPECT USED WOOD FROM FRAME AND HIT VICTIM IN THE HEAD
 WITHH IT CAUSING A CUT ON HER HEAD. The defendant is a male person and was at least 18 years of age when the assault occurred.




   Count 2.      Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0007
  © 2023 Administrative Office of the Courts                                                                        Continuation Page           of        Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 8 of 26
                                                                                                                                   File No.
                     STATE VERSUS                                          MECKLENBURG
                                                                                                        County                                      23CR472261-590
Name Of Defendant
THOMAS ANDREW HAYWARD
Date Of issuance Of Magistrate's Order
                                                            NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               12/02/2023
                                                                          OFFENSES (continued)
   Count 3.       Offense:
Charging Text For This Count




   Count 4.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                               0008
  © 2023 Administrative Office of the Courts                                                                      Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 9 of 26
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                      23CR472261-590
Name Of Defendant
THOMAS ANDREW HAYWARD
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               12/02/2023
                                                                           OFFENSES (continued)
   Count 5.       Offense:
Charging Text For This Count




   Count 6.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0009
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 10 of 26
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG                                                              23CR472261-590
                                                                                                         County
Name Of Defendant
THOMAS ANDREW HAYWARD
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               12/02/2023
                                                                           OFFENSES (continued)
   Count 7.       Offense:
Charging Text For This Count




   Count 8.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0010
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 11 of 26
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                      23CR472261-590
Name Of Defendant
THOMAS ANDREW HAYWARD
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               12/02/2023
                                                                           OFFENSES (continued)
   Count 9.       Offense:
Charging Text For This Count




   Count 10.        Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0011
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 12 of 26
                                                                                                                                                                       File No.
                       STATE VERSUS                                                                 MECKLENBURG                           County                                               23CR472261-590
Name Of Defendant                                                          NOTE: Use this page to enterjudgment on a Magistrate's Order. Use this Judgment page only if imposing a single, consolidated judgment
THOMAS ANDREW HAYWARD                                                               for all offenses of conviction charged under this file number. Do not use this Judgment page to impose sentence: (i) if imposing separate
Date Of issuance Of Magistrate's Order                                             judgments for separate offenses of conviction charged under this file number, (ii) to impose supervised probation; or (iii) for DWI sentences
                                                                                    under G.S. 20-179. For DWI, use AOC-CR-342 (active)        or  OC-CR-31 (probation). For structured sentencing offenses, use AOC-CR-602
                                12/02/2023                                          (active)or    AOC-CR-604 (probation).
                                                                                                             JUDGMENT
District Attorney                                         Def. Waived Attorney     Def. Found Not indigent   Attorney For Defendant                                Appointed                     PRIOR CONVICTIONS:
                                                          Def. Denied Appointed Counsel                                                                            Retained       No./Level:    00 1(0)                OO   int (5+)



OFFENSES: The following offenses, which are set forth by Count No. in the Magistrate's Order issued in this case on the date noted above for the defendant named above, are the
subject of this Judgment:

Count 1         PLEA:      [] guilty [] not guilty [] no contest                                               VERDICT:    [] guilty [] not guilty                                    M.cL.: Oa1


Count 2              [
                PLEA :        guilty      not guilty   [] no contest                                           VERDICT: [      guilty   [] not guilty                                 M.CL :     [Jat
Count 3         PLEA [ :      guilty      not guilty   Ono contest                                             VERDICT: [      guilty   [] not guilty                                 M.CL :     JA1
Count 4         PLEA [ :      guilty   [] not guilty Ono contest                                               VERDICT: [      guilty   [] not guilty                                 M.CL :     ]A1
Count 5         PLEA:         guilty      not guilty   Ono contest                                             VERDICT: [      guilty      not guilty                                 M.CL :


Count 6         PLEA:         guilty   C not guilty [] no contest                                              VERDICT:    [] guilty [] not guilty                                    M.CL :     [a1
Count 7         PLEA:         guilty      not guilty      no contest                                           VERDICT:    [J guilty [] not guilty                                    M.CL :     [ ]A1
Count 8         PLEA2         guilty   [] not guilty [] no contest                                             VERDICT:    [J guilty [] not guilty                                    M.CL : LJA1            Liz
Count 9         PLEA   2
                              guilty      not guilty   [] no contest                                           VERDICT:    [] guilty [] not guilty                                    M.CL : LJAt            Lz
Count 10        PLEA   2
                              guilty      not guilty   [] no contest                                           VERDICT:    [] guilty [] not guilty                                    M.CL : LJA1            Lz




                                                                                                                  (Over)


   AOC-CR-116 Judgment, Rev. 3/23                                                                              0012
   © 2023 Administrative Office of the Courts
                                                Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 13 of 26
                                                                                                                                                                                     File No
                        STATE VERSUS                                                                     MECKLENBURG
                                                                                                                                                  County                                                 23CR472261-590
Niame Of Defendant
                                                                              *NOTE: Use this Judgment page only if imposing a single, consolidated judgment for all offenses of conviction charged under this file number. Do net use this
THOMAS ANDREW HAYWARD                                                                     Judgment page to impose sentence: (i) if imposing separate judgments for separate offenses of conviction charged under this file number; (ii) to impose
                                                                                          supervised probation; or (ili) for DWI sentences under G.S. 20-179. For DWI, use AOC-CR-342 (active) or AOC-CR-310 (probation). For structured sentencing
                                                                                          offenses, use AOC-CR-602 (active) or AOC-CR-604 (probation).

                                                                                                       JUDGMENT (continued)
JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the above plea(s) on Side One. On the verdict(s) from Side One, it is ORDERED that all offenses of
conviction, if more than one, be consolidated for judgment with Count No.                   (list count of lead offense) and that the defendant:
                                                 Amount Of Fine/Penalty             Costs
   pay the following fine/penalty and costs:
                                                 $                                  $
Cbe imprisoned for a term of                days in custody of the           []
                                                                             sheriff    []MCP. Cpac.*                Pretrial credit        days served.
   Work release          is recommended.          is not recommended.          (NOTE: To order work release, use form AOC-CR-602 to impose judgment.)
   The Court finds that a         longer       shorter     period of probation than that which is specified in G.S. 15A-1343.2(d) is necessary.
   Execution of the sentence is suspended and the defendant is placed on unsupervised probation* for                         months, subject to the following conditions:
        1. commit no criminal offense in any jurisdiction.      2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
        3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
        4. satisfy child support and family obligations, as required by the Court.         5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos,
           to be included in the defendant's records.       6. pay to the Clerk the costs of court and any additional sums shown below.

            Costs                      Fine                          Restitution**                   Altorney's Fee               Community Service Fee       Other                 Total Amount Due
              $                            $                             $                                  $                               $                              $                             $
              ""Name(s), address(es), and amount(s) for aggrieved party(ies) to receive restitution: (NOTE TO CLERK: Record SSN or Tax ID No. of aggrieved party(ies) on AOC-CR-382, "Certification Of Identity (Victims' Restitution/
              Certification Of Identity (Witness Attendance).")



         7. complete          hours of community service during the first                   days of probation, as directed by the judicial services coordinator, and pay the fee prescribed by G.S. 143B-1483 within                           days.
         8. not be found in or on the premises of the complainant or
         9. not assault, communicate with or be in the presence of the complainant or
        10. provide   DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
                        a




         1.    Other:




  The Court finds just cause to waive costs as ordered on attached []AOC-CR-415. []AOC-CR-618.           Other:               []
It is ORDERED that this:    Judgment is continued upon payment of costs.
                            case be consolidated for judgment with
                              C
                            sentence is to run at the expiration of the sentence in
  COMMITMENT: It is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the sheriff cause the defendant to be retained in custody to
                    serve the sentence imposed or until the defendant shall have complied with the conditions of release pending appeal.
PROBABLE CAUSE:          Probable cause is found as to all Counts except                                              , and the defendant is bound over to Superior Court for action by the grand jury.

                         No probable cause is found as to Count(s)                                                                           of this Magistrate's Order and the Count(s) is dismissed.
Date                         Name Of District Court Judge Or Magistrate (type or print)                                            Signature Of District Court Judge Or Magistrate


                                                                                                            APPEAL ENTRIES
[] The defendant, in open court, gives notice of appeal to the               []District          Superior       Court.
[] The current pretrial release order is modified as follows:
Date                         Name Of District Court Judge Or Magistrate (type or print)                                     Signature Of District Court Judge Or Magistrate


                                                                                                                CERTIFICATION
|
 certify that this Judgment is a true and complete copy of the original which is               Pate                         Date Delivered To Sheriff     Signature                                                    Dep.csc       []Asst. csc
on file in this case.                                                                                                                                                                                                   Clerk OF Superior Court
                                                                                                                    0013
    AOC-CR-116 Judgment, Side Two, Rev. 3/23, © 2023 Administrative Office of the Courts
                                                Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 14 of 26
                                                                                                  File No
 STATE OF NORTH CAROLINA                                                                                         sacra72261-590
               E                                                                                  In The General Court Of Justice
                                                         County                                   District      [] Superior Court Division
                                     STATE VERSUS
Name And Address Of Defendant
THOMAS ANDREW HAYWARD                                                                             CONDITIONS OF RELEASE
11728 BORCHETTA DR                                                                                 AND RELEASE ORDER

CHARLOTTE                                                        NC            28277                                                                        G.S. Chapter 15A, Art. 25, 26
                                                                                              Process No.                                      Amount Of Bond
                                                                                              # RO-23-836787                                   $
File Numbers And Offenses
                               MAG ORDR; M ASSAULT ON A FEMALE;
                                            -


23CR472261 -590




    See Attachment.
Location Of Court                                                                                                                         Date                Time
                                                                                       Superior               District
                                                                                                               9:00 AM
Mecklenburg Co. Courthouse, Courtroom 5170                                                      12/04/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your    WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
          CUSTODY RELEASE              SECURED BOND n the amount shown above (NOTE: Give a copy ofthis order to any surety who posts bond.)
      C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
          BOND above. You may leave your residence for the purpose(s) of      employment          counseling      course of study    vocational training
                                                                                                                                         _




       Your release is not authorized.
       The defendant is required to provide (check ail that apply)      fingerprints under G.S 15A-502        a DNA sample under G.S. 15A-266.3A.
       Prior to release the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
       The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached 7AOC-CR-242.               AOC-CR-270. []AOC-CR-630. []AOC-CR-631.
                                                                                             AOC-CR-660.                 Other:
Additional Information




Date                 Name Of Judicial Official                         Sianature Of Judicial Official                             Magistrate       Deputy CSC            Assistant CSC
  12/02/2023         E. HORTON                                                                                                         OF Superior Court.     Loc Judge [] SC Judge
                                                                         ORDER OF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 []hold him/her          as provided on the attached AOC-CR-272.             for the following purpose: 5170 12/4/2023 AT 9AM

       [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
       of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                         ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                               Date                  Name Of Judicial Official                                Sianature Of Judicial Official
MECKLENBURG COUNTY                                          12/02/2023         E. HORTON
                                                                                       0014
  AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                         (Over)
                                                                                                                                                                 Domestic VRA Case

                    Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 15 of 26
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
     © 2023 Administrative Office of the Courts                           0015

                  Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 16 of 26
 STATE OF NORTH CAROLINA
               E
                                                                                             ee                  sacra72261-590
                                                                                                  In The General Court Of Justice
                                                         County                                   District      [] Superior Court Division
                                     STATE VERSUS
Name And Address Of Defendant
THOMAS ANDREW HAYWARD                                                                             CONDITIONS OF RELEASE
11728 BORCHETTA DR                                                                                 AND RELEASE ORDER

CHARLOTTE                                                        NC            28277                                                                     G.S. Chapter 15A, Art. 25, 26
                                                                                              Process No.                                    Amount Of Bond
                                                                                              # RO-23-836787                                 $                   2,500.00
File Numbers And Offenses
                               MAG ORDR; M ASSAULT ON A FEMALE;
                                            -


23CR472261 -590




    See Attachment.
Location Of Court                                                                                                                         Date              Time
                                                                                       Superior               District
                                                                                                               9:00 AM
Mecklenburg Co. Courthouse, Courtroom 5170                                                      12/04/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your    WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
          CUSTODY RELEASE                       x
                                       SECURED BOND inthe amount shown above NOTE:                                                        )
      C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
          BOND above. You may leave your residence for the purpose(s) of      employment          counseling      course of study    vocational training
                                                                                                                                        _




       Your release is not authorized.
       The defendant is required to provide (check ail that apply)      fingerprints under G.S 15A-502        a DNA sample under G.S. 15A-266.3A.
       Prior to release the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
       The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached [7]AOC-CR-242.             AOC-CR-270. []AOC-CR-630. []AOC-CR-631.
                                                                                         LJaoc-cr-660.                   Other:
Additional Information




Date                 Name Of Judicial Official                         Signature Of Judicial Official                             Magistrate       Deputy CSC            Assistant CSC
  12/04/2023         B. STRANG                                                                                                    Clerk Of Superior Court    Loc Judge         [[] SC Judge
                                                                         ORDEROF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 []hold him/her          as provided on the attached AOC-CR-272.             for the following purpose: 5170 12/4/2023 AT 9AM

       [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
       of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                         ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                               Date                  Name Of Judicial Official                                Signature Of Judicial Official
MECKLENBURG COUNTY                                          12/04/2023             B.SSTRANG
                                                                                       0016
  AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                         (Over)
                                                                                                                                                                Domestic VRA Case

                    Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 17 of 26
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
     © 2023 Administrative Office of the Courts                           0017

                  Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 18 of 26
                                                                                                                File No
 (TYPE OR PRINT IN BLACK INK)                                                                                   23CR472261-590
  STATE OF NORTH CAROLINA                                                                                   Adetional Bie NOS.


 Mecklenburg County
                                                                                                                      In The General Court Of Justice
                                                                                                                     Mecklenburg District Court Division
Name Of Defendant, Petitioner, Respondent
THOMAS ANDREW HAYWARD
Street Address Of Defendant, Petitioner, Respondent
11728 BORCHETTA DR
CHARLOTTE, NC, 28277                                                                                          ORDER OF ASSIGNMENT
Permanent Mailing Address Of Defendant, Petitioner, Respondent (if different than above)
                                                                                                                                 OR
                                                                                                                 DENIAL OF COUNSEL
Telenhone Number Of Nefendant, Petitioner, Respondent


       Check here if defendant is in jail
                                                                                                      G.S. 7A-146(11), 7A-292(15), 7A-450, TA-451(a), 15A-1340.23(d)
Date Of Offense                         Most Serious Class Of Offense
12/01/2023                              Misdemeanor Class Al
Offense(s)
See Offense Listing on Side Two.
INSTRUCTIONS: The Court should complete Part I. or IT. of this form. Do not use this form for first-degree murder cases or murder cases where the
degree is undesignated, except for cases where the defendant was under 18 years of age at the time of the offense, or for capital post-conviction cases or
appeals to the Court of Appeals or Supreme Court. For adult first-degree murder cases or murder cases where the degree is undesignated at the trial level,
the Office of Indigent Defense Services will use form AOC-CR-624. For capital post-conviction cases, the Office of Indigent Defense Services will use form
AOC-CR-625. For appellate cases, the Court will use form AOC-CR-350.
                                                                ASSIGNMENT OF COUNSEL
 From the petition heard in this matter, the affidavit made by the applicant named above, and the inquiry made by the Court, which is
 documented in the record, it is determined that the applicant is not financially able to provide the necessary expenses of legal
 representation, and: (check one)
        1. is charged with a Class 3 misdemeanor that was committed on or after December 1, 2013, and: (check one)

                 a. the Court has found that the defendant has more than three prior convictions; it is ORDERED that the applicant is indigent
                     and is entitled to the services of counsel as contemplated by law.
                 b. the Court has not found at this time that the defendant has more than three prior convictions, the defendant is in custody,
                     the Court does not intend at this appearance to modify the defendant's conditions of release to allow the defendant to be
                      released pending trial without posting a secured bond, and the defendant has a constitutional right to meaningful access
                     to the courts; it is ORDERED that the applicant is indigent and is entitled to the services of counsel as contemplated by
                      law; and that the attorney named below or the public defender in the judicial district shall provide representation that is
                      limited pursuant to G.S. 15A-141(3) and 15A-143 to the time period of the applicant's pretrial confinement on the Class 3
                      misdemeanor charge.
  a,      . is charged with a felony,      misdemeanor other than a Class 3, or a Class 3 misdemeanor that was committed before December 1,
                                             a




            2013, or is a petitioner or respondent in a proceeding or action listed in G.S. 7A-451(a);
            List G.S. 7A-451(a) action, felony, or non-Class 3 misdemeanor:
            Therefore, it is ORDERED that the applicant is indigent and is entitled to the services of counsel as contemplated by law; and that
            the attorney named below or the public defender in this judicial district shall provide representation.
 It is further ORDERED the defendant shall be represented by:

                 ihe attorney named below.            the public defender in this judicial district.
Name Of Appointed Attorney (if applicable)                     Next Court Date

                                                                                 5/28/2024
Date                            Signature                                                                          Judge         Clerk Of Superior Court   | |
                                                                                                                                                                 Asst. CSC

12/4/2023                        by and through
                                s/ T. Wiggins Mckinney                                                         B Deputy csc          Magistrate


NOTE: A magistrate may appoint counsel if designated to do so by the Chief District Court Judge. See G.S. 7A-146(11) and G.S. 7A-292(15).


                                                       Material opposite unmarked squares is to be disregarded as surplusage.
                                                                                           (Over)
  AOC-CR-224 (ICMS), Rev. 4/23
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                                                                                  0018

                  Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 19 of 26
                                                        Tl. DENIAL OF COUNSEL
 From the petition heard in this matter, the affidavit made by the applicant named above, and the inquiry made by the Court, which is
 documented in the record, it is determined that the applicant: (check aif that apply)
        1.is charged with a felony,    misdemeanor higher than a Class 3, or a Class 3 misdemeanor that was committed before
                                       a




         December 1, 2013, but will not receive an active or suspended term of imprisonment if he/she is convicted of the offense(s) for
         which he/she is charged; it is ORDERED that the defendant's petition is denied.
        2. is charged with a Class 3 misdemeanor that was committed on or after December 1, 2013, the Court has found that the defendant
         has fewer than four prior convictions, and the case shall proceed as a fine only case; it is ORDERED that the defendant's petition
         is denied.
        3 will not receive an active or suspended term of imprisonment if he/she is found in contempt; it is ORDERED that the defendant's
        petition is denied.
        4. is financially able to provide the necessary expenses of legal representation; it is ORDERED that the applicant is not indigent and
         his/her petition is denied.

Date                     Signature                                                                  Judge        Clerk OF Superior Court     Assi. csc

                                                                                                    Deputy CSC        Magistrate

 NOTE: A magistrate may appoint counsel if designated to do so by the Chief District Court Judge. See G.S. 7A-146(11) and G.S. 7A-292(15).

                                                              OFFENSELISTING
 COUNT                 OFFENSE
 1                    ASSAULT ON A FEMALE




 AOC-CR-224 (ICMS), Side Two, Rev. 4/23
 © 2023 Administrative Office of the Courts
                                                                      0019

               Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 20 of 26
                                                                                                  File No
 STATE OF NORTH CAROLINA                                                                                         sacra72261-590
               E                                                                                  In The General Court Of Justice
                                                         County                                   District      [] Superior Court Division
                                     STATE VERSUS
Name And Address Of Defendant
THOMAS ANDREW HAYWARD                                                                             CONDITIONS OF RELEASE
11728 BORCHETTA DR                                                                                 AND RELEASE ORDER

CHARLOTTE                                                        NC            28277                                                                   G.S. Chapter 15A, Art. 25, 26
                                                                                              Process No.                                   Amount Of Bond
                                                                                              # RO-23-836787                                $                  2,500.00
File Numbers And Offenses
                               MAG ORDR; M ASSAULT ON A FEMALE;
                                            -


93CR472261 -590




    See Attachment.
Location Of Court                                                                                                                       Date              Time
                                                                                       Superior               District
                                                                                                               9:00 AM
Mecklenburg Co. Courthouse, Courtroom 4130                                                      05/28/2024
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your    WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
          CUSTODY RELEASE                       x
                                       SECURED BOND inthe amount shown above NOTE:                                                        )
      C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
          BOND above. You may leave your residence for the purpose(s) of      en loyment          counseling []course of study       vocational training         []
            NO CONTACT WITH THE VICTIM. DO NOT ASSAULT, THREATEN, HARASS AND/OR INTIMIDATE THE VICTIM


       Your release is not authorized.
       The defendant is required to provide (check ail that apply)      fingerprints under G.S 15A-502        a DNA sample under G.S. 15A-266.3A.
       Prior to release the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
       The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached 7AOC-CR-242.               AOC-CR-270.      ]AOC-CR-630. []AOC-CR-631.
                                                                                AOQ-CR-660.          Other:
Additional Information




Date                 Name Of Judicial Official                         Signature Of Judicial Official                          Magistrate       Deputy CSC      Assistant Cc CSC
  12/04/2023         JENNIFER FLEET, by and through Cherelle Wilson                                                            Clerk Of Superior Court     DC Judge        SC Judge
                                                                         ORDER OF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 []hold him/her       [[] as provided on the attached AOC-CR-272.            for the following purpose: 5170 12/4/2023 AT 9AM

       [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
       of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                         ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                               Date                   Name Of Judicial Official                             Signature Of Judicial Official
MECKLENBURG COUNTY                                          12/04/2023         JENNIFER FLEET, by and through Cherelle Wilson
                                                                                       0020
  AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                         (Over)
                                                                                                                                                              Domestic VRA Case

                    Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 21 of 26
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
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                  Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 22 of 26
                                                                                                File No
 STATE OF NORTH CAROLINA                                                                        23CR472261-590
                                                                                                In The General Court Of Justice
Mecklenburg County for Mecklenburg County                                                           District Court Division
Name And Mailing Address Of Defendant
HAYWARD, THOMAS                                                                                      APPEARANCE BOND
11728 BORCHETTA DR
CHARLOTTE NC 28277
                                                                                                           FOR
                                                                                                     PRETRIAL RELEASE
                                                                                                                                                      G.S. 15A-531, 15A-534, 15A-544.2
Te ephone   N
                    f p Defendant             Total Bond Required                            Amount Of This Bond                                    Bond No.
                                              2.500.00                                       2,500.00                                               23B097973
File Numbers And Offenses
 23CR472261-590                                   ASSAULT ON A FEMALE




    See Additional File Numbers And Offenses on Side Two, for which a       arance is secured by this Bond
    Surety Appearance    Bond   We, the undersigned, jointly and severa||y acknowledge  that we and our persona! representatives are bound to pay the State
   of North Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side. Any undersigned professional bondsman, bail
   agent, or runner attests that the AFFIDAVIT on the reverse side is complete and true. If a cash deposit is indicated below, surety(ies) has deposited the cash
   to secure the obligation as surety(ies) on this Bond with the understanding that the deposit will be returned to the surety(ies) upon termination of that
   obligation as provided by law, and             NOT be available to satisfy defendant's obligations. (For cash bond, see notes on reverse side.
                                                                 ACCOMMODATION BONDSMAN                                         a               :




   See attached AOC-CR-201A for additional accommodation bondsmen executing this Bond.
Name And Address Of Accommodation Bondsman                            Name And Address Of Accommodation Bondsman
BIGGS, THOMAS PATRICK
3301 WOODBINE LANE
CHARLOTTE NC 28210

Telephone No.                                                                                Telephone
704-540-2228
                                                           DEFENDANT AND SURETYSIGNATU
Date Of Execution Of Bond                                                                    Signature OF D               required for Ai appearance bonds)
12/04
Signature Of Surety                                                                          Signature Qf Surety


 SWORN/AFFIRMED AND SUBSCRI                                    ¥O BEFORE ME                   SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                                  Signature                                              Date                                      Signa
12/04/2023
       Magistrate     _   DeputyCSC        Assistant CSC       Clerk Of Superior Court               Mag stratd     Deputy CSC                 Assistant CSC      Clerk Of Superior Court
  C Custodian Of Detention Facility [G.S. 15A-537c,                                                  Custodian Of Detention Facility     [G.S. 15A-537c,
                                                                                                                                                                               :
                                                                 COMPLETE IF CASH DEPOSITED                                                :                                        :

Signature Of Official Accepting Cash                                        Name Of Official Accepting Cash (type or print)                                    Receipt No.
                                                                                                                                                               1-880520
 NOTE: If cash deposited, see notes on reverse side. (see AOC-CR-238 if release              Originat   -
                                                                                                            Fite
  AOC-CR-201 (ICMS), Rev. 2/21                           after judgment in superior court)     (Over)
  © 2021 Administrative Office of the Courts


                                                                                 0022

                Case 1:23-cv-00423-WO-JLW Document 94-3 Filed 04/09/24 Page 23 of 26
                                                                                                                         :
                                              x:
                                                                  +
                                                                                  CONDITIONS                         :       :
                                                                                                                                                :
                                                                                                                                                        :   >


The conditions of this Bond are that the above named defendant shall appear in the above entitled action(s) whenever required Itis agreed and understood
that this Bond is effective and binding upon the defendant and each surety throughout ail stages of the proceedings in the trial divisions of the Genera Court
of Justice until the entry of judgment in the district court from which no appeal is taken or until the entry of judgment in the superior court, unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered until termination of the Bond, then the bond is to be void, but if the
defendant fails to appear as required, the Court will forfeit the bond pursuant to Part 2 of Article 26 of Chapter 15A of the General Statutes
Each accommodation bondsman by signing on the reverse or on the attached AOC-CR-201A, states:: "I have reached the age of 18 years and am a bona
fide resident of North Carolina. Aside from love and affection and release of the above named defendant, have received no consideration for acting as
                                                                                                                                 |




surety. own sufficient property over and above all liabilities, homestead and other exemptions allowed me by law to enable me to pay this Bond should it
               |



be ordered forfeited. understand that if sign this Bond without sufficient property, am guilty of a crime.
                               |                                                                  |




                                                          ADDITIONAL FILE NUMBERS AND OFFENSES
Additional Fite Numbers And Offenses




    See Additional File Numbers And Offenses on attached AOC-CR-201A, Side Two, for which appearance is secured by this Bond.
           +
                                                   *
                                                                                  AFF DAV T
NOTE:: 'Professional bondsmen, surety bondsmen [bail agents], and runners shall file with the clerk of court having jurisdiction over the principal an affidavit on a form furnished
       by the Administrative Office of the Courts." G.S. 58-71-140(d). Check ail options that apply.
 O have not, nor has anyone for my use, been promised or received any collateral, security or premium for executing this Bond
     1..   |




 O 2.. have been promised a premium in the amount shown below, which is due on the date shown below
           |




 O. have received a premium in the amount shown below
           |




 (J) 4.            have been given collateral security by the person named below, of the nature and in the amount shown below
Amount Of Premium Promised                                 Date Premium Due                Amount Of Premium Received
                                                                                           $

Name Of Person From Whom Collateral Received               Nature Of Collateral                              Value
                                                                                                                                           AFFIX BONDSMAN'S SEAL
                                                                                                                                           OR POWER OF ATTORNEY
                                                                                                                                              CERTIFICATE HERE


                                    r
                                                       RETURN OF CUSTODIAN OF DETENTION FACILITY                                                    :       a:   +                    :


The defendant named on the reverse was released from my custody on the date shown below upon the execution of this Appearance Bond.
Date Defendant Released                     Name Of Custodian (type or print)                  Signature Of Custodian                         Sheriff                Deputy Sheriff
                                                                                                                                          O Other
NOTES ON CASH BONDS:
(1) To Official Taking The Bond. Use this form for all cash bonds. Complete this form as follows.
    When Cash Deposited By Defendant Or By Another Person Who Intends For The Cash To Be Used To Satisfy The Defendant's Obligations
    Enter defendant's name address and telephone number at the top of Side One. Check "Cash Appearance Bond By Defendant. Have defendant sign
     Do no more. No other person's name should appear on this form. Enter your name, sign and enter receipt number under "Complete If Cash Deposited."
     Make receipt out to DEFENDANT, not to any other person
     When Cash Deposited By Another Person Who Does NOT Intend For The Cash To Be Used To Satisfy The Defendant's Obligations.
     Enter defendant's name, address and telephone number at the top of Side One. Check "Surety Appearance Bond. Have defendant sign. Enter name
     address and telephone number of person depositing cash under "Accommodation Bondsman. Have that person sign under "Signature Of Surety.
     Complete notarization for that person. Enter your name, sign and enter receipt number under "Complete if Cash Deposited." Make receipt out to person
     depositing the cash.
(2) To Bookkeeper. If case disposed without forfeiture, disburse cash as follows: (1) if "Cash Appearance Bond By Defendant" checked on Side One
     disburse to defendant or apply to defendant's obligations if court so orders. (2) If "Surety Appearance Bond" is checked on Side One, disburse only
     to the person(s) named under "Accommodation Bondsman."
(3) Bond By Insurance Company Or Professional Bondsman As Surety Is Same As Cash Except In Child Support. G.S. 15A4-531(4) provides that
     an appearance bond executed by an insurancé company or a professional bondsman (or a bail agent or runner on behalf of one of those sureties) is
     considered the same as a cash deposit, except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.
  AOC-CR-201 (ICMS) Side Two, Rev. 2/21
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.
      SC/Magistrate Receipt Total Received
    Date
                       :
                           72     County
                                                                                          t
                                                                                                                 Receipt #   I 8E9520
                                                                                                                              -



    For County                                                                                  Cash              Check             mo
                                    ae
                                    a      A




    Received of                                   4                                       Received by

    Criminal Cost                Amount        Maadfstrates                                   Amount    Estate/Special Proceeding         Amount
    IFC                                        CRMC                                                     ESTC
    IFDA                                       CTWM                                                     Other Estate Cost         21140
    FTA                                        IFMC                                                     Trust                     26310
                                               IFWM                                                     SPSC
     RDC                                       MMVM                                                     Foreclosure               21445
                                               SBM                                                      Surplus Funds             26600
      'DA                                      Marriage                           21330                 Widows Allowance          21140
       TA                                       FOR ALL MAGISTRATE COSTS INDICATE:                      Upset Bid                 26700
                                                        OFFICER                                         Civil Cost
                                                        FACILITY                                        CVMC
                                                        (If municipal facility)                         CDDC

            'ALL CRIMINAL COSTS                Cash Bond                          26210
                                                                                                  A,    CVDC
                                                                                                        CVSC
                  INDICATE:                    Cash Bond-Other Cnty               292KX                 CVBC
               FICER                           Purge Pymt                         26410                 Judgment                  26115
               CILITY                          Purge Pymt-Other Cnty              298XX                 Rent Bond                 26220
                 pal facility)                 Partial Pay                        20100                 Alimony                   26420
                eous Receipts                  Restititution                      26110                 Civil Officer Fee         22515
                                               Fines                              22700                 Child Support             26410
                                               Jail Fees                          22600                 Other
                                               Other Officer Fees                                       Other-
                                               FTA Fee                            21211                 Other-
                                               FTC Fee                            21213                 Other-
                  tion                         EXP Community Sve                  24202                 Other-
                                                                                   0024                 Other-
              estitution                       Other-   .




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